                                                      Case 2:18-cv-03466-DMG-SK Document 46 Filed 08/10/18 Page 1 of 6 Page ID #:1638




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                                                       7   Attorneys for Plaintiffs BIG3 BASKETBALL, LLC, O’SHEA JACKSON
                                                           AKA ICE CUBE, AND JEFF KWATINETZ
                                                       8
                                                       9                             UNITED STATES DISTRICT COURT

                                                      10                           CENTRAL DISTRICT OF CALIFORNIA

                                                      11
                 Los Angeles, California 90017-3411




                                                            BIG3 LLC, a limited liability               CASE NO.: 2:18-cv-03466-DMG-SK
GERAGOS&GERAGOS, APC




                                                      12
                    644 South Figueroa Street




                                                            company; O’SHEA JACKSON a/k/a
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                                                      13    ICE CUBE, an individual; and JEFF           Assigned for all purposes to
                                                            KWATINETZ, an individual;                   Hon. Dolly M. Gee
                                                      14
                                                      15                      Plaintiffs,               PLAINTIFFS’ OPPOSITION TO
                                                                                                        DEFENDANTS’ EX PARTE
                                                      16           vs.                                  APPLICATION TO CONCEAL
                                                      17                                                IDENTITY OF AHMED AL-
                                                            Ahmed Al-Rumaihi, an individual;            RUMAIHI AFTER MISLEADING
                                                      18    Faisal Al-Hamadi, an individual;            THE COURT AND PUBLIC HE
                                                      19    Ayman Sabi, an individual; Sheikh           WAS A PRIVATE CITIZEN
                                                            Abdullah bin Mohammed bin Sau Al
                                                      20    Thani, an individual and as CEO of
                                                      21    Qatar Investment Authority; DOES 1-
                                                            100,
                                                      22
                                                      23                      Defendants.
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                                                           PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
                                                                                   THE COURT AND PUBLIC HE WAS A PRIVATE CITIZEN
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                                                       1                                  I.     INTRODUCTION
                                                       2         Yesterday evening we received an email from David Ciarlo, counsel to
                                                       3   Defendant Ahmed Al-Rumaihi which stated he had “contacted the Court, and the
                                                       4   Court has agreed to remove the offending materials from the public . . .” referring
                                                       5   apparently to a July 31, 2018 letter from DLA Piper. We asked Mr. Ciarlo to explain
                                                       6   the nature of these purported ex parte communications with the Court, without our
                                                       7   knowledge, and to explain what he was referring to by “offending material.” (Exhibit
                                                       8   A). Mr. Ciarlo refused to discuss the communications with the Court and claimed that
                                                       9   apparently Mr. Rumaihi’s existence and his identity is private. Somehow, and without
                                                      10   briefing on the issue and the opportunity to be heard, Plaintiffs’ filing was sealed at
                                                      11   the request of Mr. Rumaihi.
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                                                      12         The information that Mr. Rumaihi was a diplomat and engaged in an influence
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                                                      13   operation targeting and harming United States citizens, including Plaintiffs, was
                                                      14   contained in the operative First Amended Complaint (FAC, ¶¶22,23) The subject of
                                                      15   Mr. Rumaihi’s identity was also the focus of a separate Federal Action in the Southern
                                                      16   District of New York where Mr. Rumaihi defrauded a condominium seller for over
                                                      17   $100 million. (Id., see 1964 Realty LLC v. Consulate of Qatar (1:14-cv-06429-ER)).
                                                      18         Here, Defendants argue that because they misled this Court and the public and
                                                      19   stated he was a private citizen and businessman and not connected with the
                                                      20   government, and then was caught lying, that the true information about Mr. Rumaihi’s
                                                      21   purported real identity should now be secret.
                                                      22         If Mr. Rumaihi’s existence and identity was a secret, Defendants could have
                                                      23   moved to seal the complaint, they could have asserted diplomatic status or immunity,
                                                      24   and, at the very least, they did not have to deceive Plaintiffs, multiple courts, and the
                                                      25   public that he was a private businessman.
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                                                      28   PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
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                                                       1          Instead, and ironically, Defendants’ filed an Anti-SLAPP Motion before this
                                                       2   Court invoking California free speech law, while now seeking to keep Mr. Rumaihi’s
                                                       3   identity a secret.
                                                       4          In essence, Defendants are attempting to make Mr. Rumaihi the ultimate
                                                       5   “chameleon litigant” changing and contradicting his identity and status, in different
                                                       6   forums, as it suits their interest, to exploit American citizens and businesses.
                                                       7          Further, Defendants’ Ex Parte Application filed today must be denied as there
                                                       8   is no “offending material.”
                                                       9          First, Mr. Rumaihi does not have a privacy interest in his identity.
                                                      10          As the Sixth Circuit has explained, “Common sense tells us that the greater
                                                      11   motivation a [litigant] has to shield its operations, the greater the public’s need to
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                                                      12   know.” Brown & Williamson Tobacco Corp. v. FTC, 710 F.2d 1165, 1180 (6th Cir.
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                                                      13   1983). Here, there would be no credible basis for Plaintiffs (or any litigant), as United
                                                      14   States citizens, to seal their identities and professional background, yet this is
                                                      15   precisely what Mr. Rumaihi asks the Court to do here. See, e.g., Foltz v. State Farm
                                                      16   Mut. Auto. Ins. Co., 331 F.3d 1122, 1136 (9th Cir. 2003)([t]he mere fact that the
                                                      17   production of records may lead to a litigant’s embarrassment, incrimination, or
                                                      18   exposure to further litigation will not, without more, compel the court to seal its
                                                      19   records.”
                                                      20          Second, the purported protective order referenced by Mr. Rumaihi in the
                                                      21   parallel Arbitration was submitted but has not been entered by the Arbitrator in that
                                                      22   action and is therefore not effective and operative. See, e.g., Foltz v. State Farm Mut.
                                                      23   Auto. Ins. Co., 331 F.3d 1122, 1130 (9th Cir. 2003) The proposed protective order
                                                      24   has no affect at that this time. Moreover, the protective order was submitted to the
                                                      25   Arbitrator before the letter revealing Mr. Rumaihi’s true-identity. As Mr. Rumaihi did
                                                      26   with multiple courts and the Arbitrator, he defrauded the claimant in that action into
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                                                      28   PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
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                                                       1   believing he was a private citizen and on that basis the parties could enter a normal
                                                       2   protective order. The claimant in that action will be withdrawing any consent to the
                                                       3   proposed inoperative protective order now that Mr. Rumaihi’s true identity is known.
                                                       4         Further, the claimant in that action requested an emergency hearing to address
                                                       5   Mr. Rumaihi’s fraud on the Arbitrator regarding his identity. The hearing in that
                                                       6   action was set by the Arbitrator for August 14, 2018. See, Jepson, Inc. v. Makita Elec.
                                                       7   Works, Ltd., 30 F.3d 854, 858 (7th Cir. 1994) (“Even if the parties agree that a
                                                       8   protective order should be entered, they still have the burden of showing that good
                                                       9   cause exists for issuance of that order.”)
                                                      10         Third, the inoperative protective order is also not applicable to the July 31, 2018
                                                      11   DLA Piper Letter. Specifically:
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                                                                 • Paragraph 2 of the inoperative protective order provides that Confidential
                                                      13           Material does not include public information or information that is available
                                                                   to the public.
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                                                                 • Paragraph 13 of the inoperative protective order states that information that a
                                                      15           litigant has access to before the Arbitration is not subject to the protective
                                                                   order.
                                                      16
                                                                 • Paragraph 8 of the inoperative protective order provides that a party is
                                                      17           obligated to designate a document as confidential or highly confidential.
                                                      18
                                                      19         The July 31, 2018 letter was not designated as confidential or highly
                                                      20   confidential. Further, in addition to not being designated confidential, Plaintiff had no
                                                      21   reason to believe the subject matter was confidential because the information was
                                                      22   discussed in the First Amended Complaint and was the subject of the SDNY Federal
                                                      23   Action against Mr. Rumaihi. The FAC addresses these topics here as well:
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                                                      28   PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
                                                                                   THE COURT AND PUBLIC HE WAS A PRIVATE CITIZEN
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                                                      20         Further, a litigant’s identity is not confidential. Defendant should not be
                                                      21   rewarded for misleading courts and the public that he was a private citizen when he is
                                                      22   apparently not. If Defendants’ wanted special diplomatic treatment for Mr. Rumaihi
                                                      23   they could have requested it when the case was filed. Mr. Rumaihi claimed to be a
                                                      24   private citizen and businessman and should now be treated like every other normal
                                                      25   litigant before this Court.
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                                                      28   PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
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                                                       1         For these reasons, Defendants’ request to seal Mr. Rumaihi’s identity should be
                                                       2   denied and Mr. Rumaihi should be deposed so that we can determine who he really is
                                                       3   to avoid further doubt, confusion, and fraud.
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                                                       7   DATED: August 10, 2018                 GERAGOS & GERAGOS, APC

                                                       8                                          By: /s/ MARK GERAGOS
                                                       9
                                                                                                  MARK J. GERAGOS
                                                      10                                          BEN J. MEISELAS
                                                      11                                          DAVID A. ERIKSON
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                                                                                                  Attorney for Plaintiffs
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                                                      28   PLAINTIFFS’ EX PARTE APPLICATION TO SEAL THE IDENTITY OF AHMED AL-RUMAIHI AFTER MISLEADING
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